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            Thurgood Marshall U.S. Courthouse, 40 Foley Square, New York, NY 10007  |  (212) 857-8500
            
          
      
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